    Case 3:25-cv-02847-AMO   Document 7-13   Filed 03/27/25   Page 1 of 7




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF LISA KOOP (NIJC)
PALO ALTO, et al.,                    IN SUPPORT OF PLAINTIFFS’
              Plaintiffs,             MOTION FOR A TEMPORARY
                                      RESTRAINING ORDER AND
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
      Case 3:25-cv-02847-AMO          Document 7-13        Filed 03/27/25      Page 2 of 7




                         DECLARATION OF LISA KOOP
                   NATIONAL DIRECTOR OF LEGAL SERVICES
                FOR THE NATIONAL IMMIGRANT JUSTICE CENTER


I, Lisa Koop, make the following statements on behalf of the National Immigrant Justice Center
(NIJC). I certify under penalty of perjury that the following statement is true and correct
pursuant to 28 U.S.C. § 1746.
   1. My name is Lisa Koop. I am the national director of legal services at the National
      Immigrant Justice Center (NIJC). NIJC is based in Chicago, Illinois and provides legal
      services to immigrants. NIJC is dedicated to providing legal services to indigent
      unaccompanied immigrant children who are not in detention as well as those held in the
      custody of the Office of Refugee Resettlement (ORR) in Illinois and Indiana.

   2. NIJC maintains a Children’s Protection Project that works primarily on matters involving
      unaccompanied immigrant children. The mission of NIJC’s Children’s Protection Project
      is to educate children about the United States immigration legal system and assess their
      claims for legal relief, including asylum, special immigrant juvenile status, and protection
      from human trafficking. The Children’s Protection Project equips children to make
      informed decisions about how to proceed with their immigration cases and represents
      children in applications for immigration benefits and in their removal proceedings before
      the immigration courts.

   3. In order to carry out this mission, NIJC’s Children’s Protection Project has several main
      work components: (1) Providing educational services in the form of legal education
      “Know Your Rights” (“KYR”) presentations and conducting individual consultations
      with unrepresented children in ORR custody in Illinois and Indiana; (2) Representing
      unaccompanied minors who are not in ORR custody in immigration and related
      proceedings; and (3) Representing children in ORR custody in immigration proceedings.
      NIJC hosts Immigrant Justice Corps (IJC) fellows to represent unaccompanied immigrant
      children in removal proceedings and provides Spanish-language support for staff
      representing unaccompanied children.

   4. NIJC has provided legal services to unaccompanied immigrant children since its
      inception more than 40 years ago. More than 15 years ago, NIJC began receiving funding
      from the federal government to provide KYRs and legal consultations to children in ORR
      custody. NIJC’s contract to serve immigrant children expanded several times to allow for
      a broader range of services to a larger number of children. NIJC is funded by the federal
      government to provide legal services, including KYRs, consultations, and representation



                                                1
  Case 3:25-cv-02847-AMO           Document 7-13        Filed 03/27/25      Page 3 of 7




   to children in ORR custody and children outside of ORR custody, who were previously
   detained. The funds are administered by the Acacia Center for Justice.

5. At present, NIJC serves children detained by the federal government in 11 facilities in
   Illinois and Indiana, which together have capacity for 431 children on any given day.
   NIJC serves a combined annual number of around 2,300 children. NIJC provides KYRs
   and legal screenings to around 1,800 children in ORR custody, initiates representation
   with about 100 detained children, and maintains a caseload of around 500 children who
   are released from ORR custody and continue in their applications for relief and in
   removal proceedings.

6. With United States Department of Health and Human Services (HHS) funding, NIJC
   employs about 42 staff members dedicated to providing legal services to unaccompanied
   immigrant children. Specifically, to do this work, NIJC employs one director partially on
   this funding, one managing attorney fully on this funding, one program manager fully on
   this funding, four legal supervisors fully on this funding, three legal supervisors partially
   on this funding, nine staff attorneys fully on this funding, seven fellows fully on this
   funding, one coordinator partially on this funding, 13 paralegals fully on this funding, and
   two paralegals partially on this funding.

7. NIJC staff members providing KYR presentations, consultations, and representation to
   children in ORR facilities regularly travel to each facility to provide in-person legal
   education, offer legal consultations, conduct client interviews, and prepare clients for
   hearings. NIJC visits each ORR facility once or twice each week. NIJC legal workers
   meet with recently arrived children who need KYRs and legal screenings, meet with
   children who are seeking additional information about legal proceedings, and meet with
   children who are NIJC clients for client counseling and case preparation.

8. NIJC represents children seeking various forms of immigration relief and protection from
   deportation including asylum, special immigrant juvenile status, T-visas for survivors of
   human trafficking, temporary protected status, and family-based petitions. NIJC
   represents children before the United States Citizenship and Immigration Services, the
   immigration courts, the Board of Immigration Appeals, and state courts. Where
   appropriate, NIJC advocates for the release of children from ORR custody or for transfer
   between ORR programs. If NIJC’s clients are transferred to adult detention and held by
   Immigration and Customs Enforcement (ICE), NIJC may represent clients in bond
   hearings and in seeking relief from removal while in ICE detention.

9. NIJC’s next scheduled court hearing for an unaccompanied child client is on April 2,
   2025. NIJC has at least eight immigration court hearings and two state court hearings for


                                             2
         Case 3:25-cv-02847-AMO            Document 7-13         Filed 03/27/25    Page 4 of 7




          child clients in April. While NIJC expects to attend the hearings in April, NIJC’s ability
          to do so in May and beyond is in jeopardy because of the contract termination and the
          cancellation of funding to serve this population.

      10. Children served by NIJC in ORR custody are particularly vulnerable. Many experienced
          persecution by the governments in their home countries or by agents their governments
          are unwilling or unable to control. Many children experienced abandonment, abuse, and
          neglect by one or both of their parents. Some children served by NIJC are survivors of
          human trafficking. NIJC frequently serves children considered to be of tender age,
          because they are younger than 13 years old. NIJC serves many children who speak rare
          languages, meaning not Spanish or English. NIJC staff members are trained to provide
          legal education and legal services through interpreters to reach these children.

      11. Without NIJC services, it is highly unlikely children in ORR custody in NIJC’s service
          area will receive legal services. Most children served by NIJC are indigent and cannot
          pay private attorneys to represent them. Pro bono resources for children in ORR custody
          are scant. Children who are unable to pay a private attorney or connect with a nonprofit
          organization like NIJC face deportation proceedings on their own, without an attorney.
          For most children, the task of presenting a claim for relief from removal on their own is
          insurmountable and they are denied the opportunity to present their cases, are denied due
          process, and are likely to be ordered deported.

      12. For example, NIJC representation is critical to clients like eight-year-old Juan, 1 who is an
          indigent immigrant child who was released from ORR custody into the care of his United
          States citizen mother. Juan is not in removal proceedings and has no negative factors in
          his case. Juan was abandoned by his father and requires attorney representation to
          establish eligibility for family-based protection through his mother.

      13. NIJC’s work with immigrant children is increasingly critical because in recent weeks,
          ICE has increased the rate and speed with which it serves Notices to Appear (NTAs) on
          immigrant children. Service of the NTA and the filing of the NTA with the immigration
          court causes removal proceedings against children to proceed. Under this practice,
          children have reduced time to have their cases screened by NIJC, receive case
          assessments, make decisions about how they wish to proceed, file procedural motions to
          position their cases to proceed before the court, prepare applications for relief, gather
          evidence, and develop legal arguments in support of their claims for relief from removal.
          Without access to NIJC’s legal services—an inevitable reality given the loss of funding to
          do this work—children with filed NTAs will be greatly disadvantaged.


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    NIJC is using a substitute name to project client confidentiality .
                                                     3
  Case 3:25-cv-02847-AMO           Document 7-13        Filed 03/27/25      Page 5 of 7




14. In the event that NIJC is forced to cease representing existing clients, the children NIJC
    currently serves will be highly unlikely to find private attorneys or pro bono counsel to
    represent them. In NIJC’s experience, pro bono attorneys are usually not willing to accept
    matters involving immigrant children without training and ongoing support from an
    organization with immigration law expertise, like NIJC.

15. NIJC’s work on behalf of immigrant children is welcomed by immigration judges. NIJC
    maintains a strong working relationship with ICE attorneys as well as ORR officials. In
    recent weeks, as the sustainability of NIJC’s Children’s Protection Project has been
    threatened, a judge at the Chicago Immigration Court expressed concern that NIJC might
    not be available to represent children appearing before her court. Judges have stated to
    NIJC attorneys that their representation of children allows the court to proceed in an
    efficient manner; it allows judges to be assured that the children have been screened for
    relief, counseled about their options, and equipped to make informed decisions as they
    face removal proceedings. Likewise, local shelter providers rely on NIJC to provide
    timely KYR services to the children in their care and value NIJC’s expertise and
    knowledge in working with unaccompanied children.

16. Without warning, on February 18, 2025, HHS (through the United States Department of
    the Interior) issued a national contract stop work order for Legal Services for
    Unaccompanied Children, effective immediately, which extended to all of our Contract
    Line Numbers (CLINs): 1. KYR presentations and legal services for pro se children in
    ORR facilities; 2. Legal representation for unaccompanied children both in ORR custody
    and released from ORR custody, as well as additional tasks to support and report on the
    provision of legal services; 3. Immigrant Justice Corps fellows who represent children
    not covered under other CLINs; and 4. Spanish language interpretation and training for
    organizational staff who work with children. Without elaboration on duration or
    reasoning, the stop work order stated that it would “remain in place until you are notified
    otherwise” and was “being implemented due to causes outside of your control and should
    not be misconstrued as an indication for poor performance.”

17. NIJC received notice of the stop work order from the Acacia Center for Justice. NIJC
    promptly informed staff members on the Children’s Protection Project, who were greatly
    distressed by the news that NIJC’s ability to serve immigrant children had been
    dramatically compromised. The stop work order remained in force for about three days,
    but the program was briefly reinstated and the stop-work order lifted on the third day.

18. Then, on March 21, 2025, also without warning, NIJC learned that HHS (through the
    United States Department of the Interior) partially terminated the current contract with

                                             4
  Case 3:25-cv-02847-AMO            Document 7-13        Filed 03/27/25       Page 6 of 7




   Acacia Center for Justice (to which NIJC is a subcontractor) that funds legal services for
   unaccompanied children. This termination took effect the same day, March 21, 2025.
   HHS terminated the contract with respect to 3 of the 4 CLINs: CLIN 2, Legal
   representation for unaccompanied children, as well as other non-representation services,
   such as referrals and data tracking; CLIN 3, which funds Immigrant Justice Corps fellows
   who represent unaccompanied children not covered under CLIN 2; and CLIN 4, Spanish
   language support for organizational staff who work with children.

19. For the time being, HHS has left in place only CLIN1, which funds KYR presentations
    and confidential legal consultations for pro se children in ORR facilities. Per the partial
    termination, HHS ordered Acacia and all subcontractors to stop work immediately on
    CLINs 2, 3, and 4. HHS provided no explanation for the partial termination other than
    “the Government’s convenience.”

20. NIJC received notice of the partial termination from the Acacia Center for Justice. NIJC
    promptly informed staff members on the Children’s Protection Project, who were again
    greatly distressed by the news that NIJC’s ability to serve immigrant children had been
    dramatically compromised after having previously endured the stop work order.

21. The funding NIJC receives from the federal government to serve immigrant children
    amounts to more than four million dollars and comprises more than 25% of NIJC’s
    overall budget. Without this funding, NIJC cannot maintain its staff and will be forced to
    terminate positions. To the extent NIJC is able to transition some staff members from the
    Children’s Protection Project to other projects at NIJC, NIJC may be able to preserve
    some jobs, but the funding sources for other projects would require people to shift the
    scope of their work. Other funding streams do not allow for the scope and volume of
    services NIJC currently provides to immigrant children. Put simply: without this funding,
    children in NIJC’s service area will lose their attorneys, will be unable to seek protection
    like asylum, will be more vulnerable to human trafficking, and will face deportation to
    places where they will be harmed.

22. Even in the limited circumstances where it is possible, shifting staff members from
    NIJC’s Children’s Protection Project to other NIJC projects carries significant costs for
    NIJC. NIJC will lose the ability to fully use the expertise of Children’s Protection Project
    staff members as some of those staff members are incorporated into other teams and the
    focus of their work is broadened.

23. In light of the partial contract termination and ongoing risk to funding for legal services
    for immigrant children, NIJC has initiated transfers of about five staff members to other
    NIJC projects. NIJC has not re-hired for positions vacated by Children’s Protection


                                              5
      Case 3:25-cv-02847-AMO            Document 7-13        Filed 03/27/25     Page 7 of 7




       Project staff members who left NIJC. These adjustments have already compromised the
       ability of NIJC to serve immigrant children. NIJC is also undertaking an assessment of
       vacancies in other NIJC teams and likely departures in the coming months to identify
       other ways to keep at least some members of the Children’s Protection Project employed.
       The Children’s Protection Project has conducted significant restructuring and
       reassignment of cases and other responsibilities to account for these shifts. NIJC’s senior
       management team, including NIJC’s executive director, chief operating officer, director
       of development, and director of legal services, have devoted significant time to
       responding to the Children’s Protection Project funding crisis. Responding to this
       situation has prevented NIJC from conducting other work critical to NIJC’s mission.

   24. NIJC’s Children’s Protection Project is a core part of NIJC’s mission and an integral
       component of NIJC’s comprehensive work to protect the rights of immigrants, refugees,
       and asylum seekers. A significant reduction in NIJC’s ability to represent children, as will
       occur if federal funding is not restored, will undermine the mission of NIJC, will deny
       immigrant children a fair day in court, and compromise decades of work NIJC has
       accomplished for immigrant children.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on the 25th of March 2025, in Goshen, Indiana.

s/ Lisa Koop             .
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                                                  6
